                   U.S. DISTRICT COURT for the EASTERN DISTRICT OF TENNESSEE at CHATTANOOGA

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                       Curtis L. Collier
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Chris Poole                                   Allen Beard
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OTHER MATTERS
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